Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 1 of 11 Page ID #:3



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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



WATSON-MARLOW LTD. and                               Civil Action No. -------
WATSON-MARLOW, INe.

                                  Plaintiffs,

                     - against-                      COMPLAINT       AND JURY
                                                     DEMAND
CHANGZHOU PREFLUID
TECHNOLOGY CO., LTD., and
PREFLUID TEC USA.

                                  Defendants.



       Plaintiffs Watson-Marlow Ltd. ("WML") and Watson-Marlow, Inc. ("WMI")

(collectively, WML and WMI are "Plaintiffs"),   through their undersigned attorneys, by way of

their Complaint requesting temporary, preliminary, and permanent injunctive relief, and

monetary damages against Changzhou Prefluid Technology Co., Ltd. ("Changzhou")       and




                                                1
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 2 of 11 Page ID #:4



Prefluid TEC USA (“PTU”) (collectively, Changzhou and PTU are “Defendants”), allege as

follows:

                                     NATURE OF ACTION

       1.        This is an action for trade dress infringement under the statutory laws of the

United States.     Plaintiffs seek a temporary restraining order, a preliminary and permanent

injunction, and damages to redress Defendant’s unlawful acts alleged herein.

                                            PARTIES

       2.        WML is a corporation organized under the laws of the United Kingdom having its

principal place of business in Falmouth, Cornwall, England. WML designs, manufactures, and

sells high-end peristaltic pumps used for oil refinery, water treatment, sewage, and

pharmaceutical and medical uses. WML’s pumps are high quality and used for high volume

production by large companies.

       3.        WMI is a wholly owned subsidiary of WML and is organized under the laws of

the state of Delaware having its principal place of business at 37 Upton Technology Park,

Wilmington, Massachusetts.

       4.        Defendant Changzhou is a Chinese corporation with its principal place of

business at New North District, No. 21-1 Hengshan Road, Changzhou, Jiangsu, China, 213002.

       5.        Defendant PTU is an unknown entity identified on Changzou’s website as have a

California address of 2500 Wilshire Blvd., Unit 926, Los Angeles, California, 90057. Plaintiffs

have identified an entity known as PreFluid Technology USA, Inc., which is registered to do

business in California, but it is at a different address. On information and belief due to its name,

it appears that PTU is a d/b/a of PreFluid Technology USA. Inc.

                                 JURISDICTION AND VENUE
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 3 of 11 Page ID #:5



        6.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 (federal question) and 15 U.S.C. § 1121.

        7.     Venue is proper pursuant to 28 U.S.C. § 1391 in that a substantial part of the

events giving rise to the claims occurred within this judicial district.

        8.     Defendants manufacture and sell peristaltic pumps and maintain an English

language website (www.prefluid.net), which is registered to Defendant Changzou, and which

publicizes PTU as a contact in the U.S. Many of these products advertised on the website

infringe the trade dress of Plaintiffs’ products.

        9.     On their website, Defendants admit that they have at least one customer located in

the United States, particularly in the State of California.

        10.    Defendants market their products by, among other means, attendance at trade

shows in the United States.

        11.    Defendants have registered to exhibit its products at the Interphex trade show in

New York, NY, on March 18-20. Thus, on information and belief Defendants intend to transact

business within this judicial district beginning March 18 by making its products available for

sale.

        12.    At the March 18-20 trade show, Defendants intend to exhibit products that

infringe upon Plaintiffs’ intellectual property. In fact, Plaintiffs served a demand letter on March

13, 2014 to cease and desist the display of product at Interphex, and on March 14, 2014,

Changzhou rejected such demand and stated its intent to participate in Interphex. Thus, on

information and belief Defendants intend to commit tortious acts within this judicial district.
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 4 of 11 Page ID #:6



                                  FACTUAL BACKGROUND

          13.   Plaintiff WMI was established in 1956 and manufactures, designs, and sells

positive displacement pumps.

          14.   Established in 1991, Plaintiff WMI is the United States sales arm of WML.

          15.   Along with other Watson-Marlow entities around the world, Plaintiffs are the

world’s leading manufacturer of positive displacement pumps. For 58 years the Group has

supplied trusted engineering and process expertise across a wide range of industries. It has

installed over one million pumps worldwide.

          16.   In particular, Plaintiffs design, manufacture, and sell high-end peristaltic pumps

used for oil refinery, water treatment, sewage, and pharmaceutical and medical uses.

          17.   Plaintiffs’ pumps are the pumps of choice for applications requiring accuracy,

hygiene, and reliability.

                                       Plaintiffs’ Trade Dress

          18.   Plaintiffs have adopted trade dress for certain of its pumps to identify Plaintiff as

the source of those products. The distinctive design of these products is synonymous with their

high quality and recognized by customers around the world as identifying Plaintiffs as the

source.

          19.   This is particularly true with regard to the following eight components of

Plaintiffs’ peristaltic pumps:

                i)      313D Pump Head;
                ii)     102R Pump Head;
                iii)    505L Pump Head;
                iv)     501R Pump Head;
                v)      400M1 Pump Head;
                vi)     701R Pump Head;
                vii)    520 Drive; and
                viii)   323S Drive.
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 5 of 11 Page ID #:7




(collectively, these products are the “Pumps”).

        20.   Plaintiffs have been selling the Pumps internationally for decades. As a result of

Plaintiffs’ long, exclusive, continuous and wide-spread use of the Pump trade dress, the Pump

trade dress has become associated by consumers with Plaintiffs.

        21.   Plaintiffs Pump trade dress has acquired secondary meaning, and has become an

asset of substantial value as a symbol of Plaintiffs, their quality name, quality products, and

goodwill.

        22.   Plaintiffs, through their significant effort, skill and expertise, have acquired and

now enjoy substantial goodwill and a valuable reputation under the Pump trade dress.

                    Plaintiffs’ Learn of Defendants’ Infringing Trade Dress

        23.   In early 2013, Plaintiffs learned that Defendant Changzhou was manufacturing

and selling in China pumps that infringe upon the trade dress of certain pumps or pump

components manufactured, designed, and sold by Plaintiffs.

        24.   In particular, Defendants manufacture and sell the following eight pump

components (collectively, the “Knock-Off Pumps”), all of which mimic upon the corresponding

Pump of Plaintiffs in the manner described below:

 Defendants’ Knock-           Plantiff’s Pump                     Nature of Mimicking
     Off Pump
E313D                    313D pump head               Same size, shape, & color;
                                                      Warning label in the same position;
                                                      Same numerical digits in name.
TH15                     102R pump head               Same size, shape, & color.
E505Y                    505L pump head               Same size, shape, & color.
                                                      Same numerical digits in name
TH16                     501R                         Same size, shape & colors.
                                                      Identical details:    a manual winding
                                                      handle and rotor adjustment hole.
KZ10-A                   Alitea 400M1 pump head       Same size, shape & colors.
SL360                    701R pump head               Same size & shape.
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 6 of 11 Page ID #:8



                                                           Identical details: the handle, locking bolt,
                                                           adjustment nuts, and loadsure carriage.
WF350                     520 Drive                        Same color and shape.
                                                           A mirror image of one another
WL600                     323S Drive                       Same color

       25.      In February 2013, Plaintiffs became aware that Defendant Changzhou had

exhibited the Knock-Off Pumps trade show in California known as MD&M on February 12-14,

2013. By the time Plaintiffs became aware of such exhibit and could take action, the trade show

concluded and to Plaintiffs’ knowledge departed the United States. Subsequently, Plaintiffs

warned Defendant Changzhou not to offer the Knock-Off Pumps for sale in the United States or

Plaintiff would enforce its rights through legal action.

       26.      An April 4, 2013, Plaintiffs wrote Changzhou and demanded that it cease its

infringement.

       27.      An attorney for Changzhou responded on May 2, 2013, that because China did

not recognize rights in unregistered trade dress, it did not have to cease its infringement.

        28.     Subsequently, Plaintiffs diligently searched for any efforts by Defendant

Changzhou to further exhibit or sell the Knock-Off Pumps in the United States, but found none.

Thus, Plaintiffs believed that Defendants had heeded their warning and were confining their sales

efforts to China. Indeed, even the correspondence from Defendant Changzhou’s attorney did not

indicate any presence or intent to market in the U.S.

        29.     Plaintiffs routinely exhibit their products at the International Pharmaceutical Expo

(“Interphex”). Interphex is scheduled to take place in New York, NY on March 18-20, 2014.

Plaintiffs will be exhibiting at Interphex.

        30.     On March 11, 2014, Plaintiffs received the exhibitor list for Interphex, which

identified Defendant Changzhou as an exhibitor. This is the first notice Plaintiffs have received
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 7 of 11 Page ID #:9



since the end of the MD&M 2013 that Defendant Changzhou intended to display and sell

product in the U.S.     As part of Plaintiffs’ immediate investigation, Plaintiffs noted that

Defendant Changzou’s website, www.prefluid.net, identified a U.S. entity known as Defendant

PTU on Santa Monica Boulevard in Los Angeles, California. This is the first Plaintiffs learned

of such a U.S. entity, which appears to have been created long after the appearance in the U.S.

and demands reference above. On March 11, 2014, Plaintiffs received the exhibit list for

Interphex, which indicated that Defendants will be exhibiting products at Interphex. On March

16, 2014, Plaintiffs identified the delivery of crates to the Changzhou space on Interphex

showroom floor sent from PTU in Los Angeles. This is the first time Plaintiffs identified the

participation of PTU in the actual participation of marketing in the U.S.

         31.   Upon information and belief, Defendants intend to exhibit at Interphex its Knock-

Off Pumps, which infringe upon the trade dress of Plaintiffs’ Pumps.

         32.   The Knock-Off Pumps are also available for purchase at Defendant’s English-

language website, www.prefluid.net.

         33.   Upon information and belief, Defendants are selling or intends to sell, without

Plaintiffs’ consent, the Infringing Pumps in New York and interstate commerce.

         34.   Upon information and belief, Defendants intend to exhibit and offer for sale its

Knock-Off Pumps with the intent to mislead the public into believing that Defendants’ Knock-

Off Pumps are genuine products designed, manufactured, sponsored, or approved by Plaintiffs.

         35.   Defendants sell the Knock-Off Pumps at a fraction of the cost of Plaintiffs’

Pumps.
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 8 of 11 Page ID #:10



        36.     On March 13, 2014, Plaintiffs’ attorney issued a written notice to Defendants

advising Defendant of the infringing nature of its Knock-Off Pumps and demanded that

Defendants not exhibit the Knock-Off Pumps at Interphex.

        37.     On March 14, 2014, one of Defendant Changzhou’s representatives responded via

email and said that Changzhou would “participate in Interphex as planned.” Changzhou did not

deny the infringing nature of Knock-Off Pumps. That representative attached a copy of the May

2, 2013 letter that Changzhou’s attorney had sent previously.

        38.     In their March 14, 2014 response, Changzhou did not dispute that their Knock-Off

Pumps infringed upon Plaintiffs’ Pump trade dress. Instead, Changzhou relied on the ground

that Chinese law does not protect unregistered trade dress.

        39.     Plaintiffs responded through counsel on March 14, 2014, and reiterated their

demand that Defendants not exhibit the Knock-Off Pumps at Interphex, clarifying that the prior

letter from Changzhou was based on Chinese law, whereas the current issue involved U.S. law,

which recognizes unregistered trade dress.

        40.     All conditions precedent to this action have been performed, waived, or excused.

                                             COUNT I

       (Federal Unfair Competition: Trade Dress Infringement, 15 U.S.C. § 1125(a))

        41.     Plaintiffs incorporate the allegations contained in paragraphs 1 through 40 as if

fully set forth herein.

        42.     Plaintiffs’ Pump trade dress is distinctive and has acquired secondary meaning.

        43.     Plaintiffs’ Pump trade dress is non-functional.

        44.     On information and belief, Defendants intend to or are distributing, exhibiting,

offering and holding out for sale the Knock-Off Pumps in United States Commerce.
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 9 of 11 Page ID #:11



       45.     The Knock-Off Pumps produce a likelihood of consumer confusion, deception,

and mistake.

       46.     Defendants’ conduct amounts to unfair competition and trade dress infringement

in violation of 15 U.S.C. § 1125(a).

       47.     By Defendants’ conduct, including but not limited to its unauthorized use of

Plaintiffs’ Pump trade dress, Defendants will receive the benefit of Plaintiffs’ goodwill.

       48.     Defendants’ use of the Pump trade dress falsely indicates to the consuming public

that Defendants and/or Defendants’ goods are related, connection, sponsored, authorized, or

affiliated with Plaintiffs and their goods.

       49.     Defendants’ activities are likely to cause consumer confusion, mistake, and

deception between Plaintiffs’ goods and those of Defendants.

       50.     Upon information and belief, Defendants’ unlawful conduct is deliberate,

knowing, and in willful disregard of Plaintiffs’ property rights.

       51.     Because of Defendants’ conduct, Plaintiffs have suffered, and unless Defendants’

conduct is preliminarily and permanently enjoined, will continue to suffer, actual damages and

irreparable harm, as to which it has no adequate remedy at law.

       52.     Upon information and belief, Defendants will, if not enjoined by this Court,

continue their acts of trade dress infringement set forth above, which acts have caused, and will

continue to cause, Plaintiffs immediate and irreparable harm.         Plaintiffs have no adequate

remedy at law and, pursuant to 15 U.S.C. § 1116, is entitled to an Order of this Court enjoining

Defendants’ unlawful activities.

       53.     This is particularly true if Defendants is not enjoined from displaying, exhibiting,

and offering for sale the Knock-Off Pumps at Interphex.
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 10 of 11 Page ID #:12




                                       PRAYER FOR RELIEF

         WHEREFORE, by virtue of the unlawful conduct of Defendants alleged in this

 Complaint, Plaintiffs respectfully request that the Court enter judgment against Defendants,

 jointly and severally, as follows:

         (1)     That Plaintiff be granted preliminary and permanent injunctive relief restraining

 Defendants, their agents, servants, employees, and attorneys, and those persons in active concert

 or participation with them, from engaging in any acts in violation of the United States trademark

 laws from:

                 1.      engaging in the conduct complained of herein;

                 2.      using Plaintiffs’ trade dress in any form, in any manner in connection with

 the sale, advertising, distribution, exhibition, or offering for sale of any products or services that

 are not genuine products or services of Plaintiffs; and,

                 3.      otherwise infringing Plaintiffs’ trade dress in any manner.

         (3)     Awarding Plaintiffs damages for Defendants’ violations of the Lanham Act in an

 amount equal to Defendants’ profits from such violations and the costs of this action, pursuant to

 15 U.S.C. § 1117;

         (4)     Awarding Plaintiffs damages for Defendants’ infringement, with such amounts to

 be determined by the trier of fact and to be increased and trebeled as provided by law, including

 15 U.S.C. § 1117 (a);

         (5)     Awarding Plaintiffs punitive damages in an amount to be determined by the trier

 of fact, for its willful infringement of Plaintiffs’ trade dress;

         (6)     Awarding Plaintiffs their attorneys’ fees pursuant to 15 U.S.C. § 1117(a); and
Case 2:14-cv-03225-RGK-JC Document 2 Filed 03/17/14 Page 11 of 11 Page ID #:13




        (7)     Granting Plaintiffs such other and further relief as the Court deems proper and
just.


                                           JURy DEMAND

        Plaintiffs request a trial by jury on all claims so triable.



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                                                11
